Case 1:99-cv-02496-PLF Document 6465 Filed 12/01/21 Page 1 of4p,, be filed,

UCSF

ean eee The Honorable Paul L. Friedman
U.S. District Court for the District of Columbia
E. Barrett Prettyman U.S. Courthouse .
530 Parnassus Avenue William B. Bryant Annex
San Francisco, CA 94143 Room 6012
333 Constitution Avenue, N.W.
Washington, D.C. 20001

Library

 

Chris Shaffer

University Librarian

and Assistant Vice Chancellor for .
Information Management November 15, 2021
Chris. Shaffer@ucsf.edu

415-476-5557

www library.ucsf.edu

Re: Memorandum Opinion and Order #114 — Remand, in U.S. v. Philip Morris
Inc., et al, Civil Action No. 99-2496 (PLF)

Dear Judge Friedman,

I am writing on behalf of the University of California, San Francisco (“UCSF”) in
response to your Memorandum Opinion and Order regarding disposition of
privileged documents currently housed at the Minnesota Tobacco Document
Depository (“the Depository”).

UCSF is home to the Truth Tobacco Industry Documents (“TTID”) Library, a digital
archive established in 2002 to preserve and provide public access to digital copies of
the documents from the Depository under the terms of the 1998 Master Settlement
Agreement. TTID is publicly accessible on the web at
https://www.industrydocuments.ucsf.edu/tobacco/.

Over the past twenty years, scholars, scientists, lawyers, policymakers, journalists,
and other members of the public have used the TTID documents to inform more
than 1,000 publications, which have supported significant scientific and
investigative research and facilitated efforts to reduce smoking and related diseases
and improve health around the world. As the Depository has closed to the public as
of August 31, 2021, UCSF’s websité is now the only location where a complete copy
of these documents can be publicly accessed, as far as we are aware.

Due to its long history and expertise with the TTID documents, UCSF is currently
working with staff from the Depository and from the Minnesota Historical Society
(“MHS”) to assist with the cataloging and disposition of physical records in the
Depository, including materials located in the Secured Documents Room over which
the tobacco companies have asserted privilege. UCSF strongly supports the long-
term preservation of these privileged documents as part of the historical record and
for their potential use in litigation, or public research, in the event that privilege ©
may be lifted at some time in the distant future.

 
Case 1:99-cv-02496-PLF Document 6465 Filed 12/01/21 Page 2 of 2

UCSF understands that the extent of these records is estimated as 851 boxes, and that
the records were originally created by several different entities, three of which
(Liggett Group, Inc., Tobacco Institute, Inc., and the Council for Tobacco Research)
are no longer in existence.

UCSF further understands that most if not all of these records will remain privileged
for an indefinite period of time, and therefore public access is not permitted. As
noted in the Court’s order, UCSF lacks the authority to review privileged documents
or retrieve them in response to any future litigation. Therefore, we support the
Court’s suggested option for the privileged documents to be returned to the custody
of the existing tobacco entities, and respectfully urge the Court to ensure that the
companies preserve the documents in perpetuity.

UCSF also understands that no custodian has yet been determined for a subset of the
privileged documents created by the nonexistent entities (Liggett Group, Inc.,
Tobacco Institute, Inc., and the Council for Tobacco Research), and that the
Depository’s records indicate that the extent of these materials is estimated as at least
24 boxes.

The UCSF TTID Library is a digital archive and does not store or archive physical
materials, due to lack of storage facilities. However, the UCSF Archives & Special
Collections (“A&SC”), a department also in the UCSF Library, does maintain modest
storage facilities to archive University records, faculty papers, and other physical
materials. UCSF A&SC is willing to assist the TTID Library in providing secure
storage for a limited number of privileged records associated with the nonexistent
entities, if no other custodian can be identified, if the long-term preservation of the
materials is at risk, and if there is a reasonable possibility that the privilege may be
lifted and the documents could be made public for inclusion in the TTID Library
within the next five to ten years.

Respectfully,

DocuSlgned by:
[ Clurs Slafir

Teta

Chris Shaffer
University Librarian and °
Assistant Vice Chancellor for Information Management
